- Mofttidy Retirw ily Adguit20G Roxanmd Dinb4r-Orti] 07/01/05 Page 1 of 12 PagPugetl 6782

MONTHLY REVIEW

Dear Reader,

Volume 55, Number 3

We place these articles at no charge on our website to serve all the people who cannot afford Monthly Review, or who
cannot get access to it where they live, Many of our most devoted readers are outside of the United States. If you read our
articles online and you can afford a subscription to our print edition, we would very mich appreciate it if you would
consider taking one. Please click here to subscribe. Thank you very much.

Harry Magdoff, John Bellamy Foster, Robert W. McChesney, Paul Sweezy

July-August 2003

P Home
D subscribe

& Notes From
the Editors

> The New Age of
imperialism

by John Bellamy
Foster

b U.S, Weakness and
the Struggle for
Hegemony
by Immanuel
Wallerstein

b The. New
G liti
by Michael Klare

» The Two Wings of
the Eagle
by William K. Tabb

® Can U.S. Workers
Embrace Anti-
Imperialism?

by William Fletcher,
Jr.

http://www.monthlyreview.org/0703dunbarortiz. htm

The Grid of History: Cowboys and

Indians
by Roxanne Dunbar-Ortiz

We were like Custer. We were sutrounded.
—Sgt, James J. Riley explaining why he ordered
surrender in an engagement in Nasiriyah, Iraq on
March 23, 2003.' :

At the onset of the U.S. military invasion of Iraq, Senator
Robert Byrd emotionally queried: “What is happening to this
country? When did we become a nation which ignores and
berates our friends? When did we decide to risk undermining
international order by adopting a radi¢al and doctrinaire
approach to using our awesome military might? How can we
abandon diplomacy when the turmoil in the world cries out
for diplomacy?”

As a historian, I would have to respond to Senator Byrd that
1776 or thereabouts was when. Many admirable U.S. anti-
imperialists have been making the same point as Senator
Byrd. An erasure of history is at the heart of some of the most
anti-imperialist critiques of the Bush administration’s foreign
policy, Continuity is hidden, and a small departure is
exaggerated. From Gore Vidal to Marining Marable to
Michael Moore “lost democracy” is a refrain. Edward Said
writes: “The doctrine of military pre- emption was never
voted on by the American people or their representatives... It
seems so monumentally criminal that important words like
democracy and freedom have been hijacked, used as a mask
for pillage, taking over territory and séttling scores.” Said
ends his essay by, correctly, stating: “Bush looks like a

cowboy.” EXHIBIT

13

12/6/2004

& Notes on the

Antiwar Movement
by Barbara Epstein

» Construction of an
Enemy
by Eleanor Stein

> Homeland
Imperialism: Fear
Resistance

by Bernardine Dohrn

> The Parameters of
Resistance

by Amiya Kumar
Bagchi

Also by this Author:

P Don’t Mourn,

Organize: Joe Hill's
Children

b One or Two Things
|_Know about Us:

Rethinking the Image
and Role of the

wr - vn

Roxanne Dunbar-
Ortiz is a longtime
activist, university
professor, and writer.
in addition to
numerous scholarly
books and articles she
has published two
historical memoirs,
Red Dirt: Growing Up
Okie (Verso, 1997),
and Outlaw Woman:
A Memoir of the War
Years, 1960-1975
(City Lights, 2002),
and is working on a
third, Norther: Re-
Covering Nicaragua,
about the 1980s

http://www .monthlyreview.org/0703dunbarortiz. htm

OT oe OS oe fo
' Modtidy Riegiowvis-Angeast 2003 Roxane Ditabdr-Oritizd 07/01/05 Page 2 of 12 PagPage2 fF

That observation is also common to ctitics of the war around
the world. Although it is meant to be understood as a bad
thing, in fact, the cowboy is not a negative metaphor for
many U.S. citizens, particularly those! who are descendants of
the old settler class, as are the majority of the ruling class and
officers of the military. How many generations of children
now have grown up gleefully playing cowboys and Indians?

Perhaps the fact that I grew up as a child of a cowboy father
and Indian mother narrows my view of this metaphor, making
it loom too large and out of perspective. Then again, maybe
that experience brings with it some insider knowledge.

The Rise of White Supremacy and
Imperialism/Capitalism

To allow no dissent from the truth was exactly
the reason they had come to America.

Are your garments spotless?
Are they white as snow?
Are they washed in the blood of the lamb?

As this traditional evangelical Christian hymn suggests,
whiteness as an ideology is far more complex than mere skin
color, although skin color has been anid continues to be a key
component of racism within the United States, The origins of
white supremacy as it is now experienced and
institutionalized—and denied—in the United States (and, due
to colonialism and imperialism, throughout the world) can be
traced to the prior colonizing venturesof Christian Crusades
into Muslim-controlled territories, and to the Calvinist
Protestant colonization of Ireland. These were the models for
the colonization of the Western Hemisphere, and are the two
strands that merge in the genetic makeup of U.S. society.

The Christian Crusades against Islam/Africa gave birth to the
law of limpieza de sangre, cleanliness'of blood, which the
Spanish Inquisition was mandated to investigate and
determine. The Christian Crusades, particularly the Castilian
conquest of the Iberian Peninsula and expulsion of Jews and
Muslims, created the seed ideology and institutions for
modern colonialism with its necessary tools—racist ideology
and justification for genocide. The law of limpieza de sangre
was perhaps the most important cargo on the 1492 voyage of
Christopher Columbus, sailing under the flag of Spain.

12/6/2004

. Mostly Redwvhils1Aigest2 003 Roxanmd Diinbar-Githal 07/01/05 ' Page 3 of 12 Pagpliges 6802

contra war against
the Sandinistas.

Books from
Monthly Review Press:

ind the Invasion

of Iraq
by the Research Unit
for Political Economy

>> Imperiatism Without

Colonies
by Harry Magdoff

» The Clash of Barbarisms:

September 11 and the
Making of the New World

Disorder
by Gilbert Achcar

Great Britain emerged as an overseas|colonial power a
century later than Spain, and absorbed aspects of the Spanish
caste system into its colonialist rationalizations, particularly
regarding African slavery, within the context of chosen
people/New Jerusalem Calvinism and Puritanism.

In the pre-formation of the United States, Puritanism and
Calvinist Protestantism uniquely refiried white supremacy as
a political/religious ideology (a covenant with God) requiring
the shedding of white blood for purification. The Ulster-Scots
Calvinists were the settler/colonizers of Northern Ireland and
constituted a majority of settlers in the western lands over the
Appalachian/Allegheny spine of English North America.
Their origin story became the origin story of the United
States. It tells of pilgrim/settlers doing God’s will and forging
into the promised land, being surrounded by savages, and
killing the heathen (first the Irish in Ulster, then the Native
Americans in North America). Thereby, the sacrifice and
blood shed is perceived as proof of the sanctity and purity of
the nation itself. All the descendants of those who made such
sacrifices are the true inheritors of the land.

The Crusades and Purity of Blood

In the eighth century, Muslims came to power in all but the
northern fringe of the Iberian Peninsula and ruled for
centuries. However, by the end of the'fifteenth century, the
last Muslim state held only a foothold in Granada, an enclave
on the southeastern coast surrounded by the expansionist
Christian monarchies of Castile and Aragon. During those
intervening seven hundred years, various Christian kingdoms
based in the north of the peninsula attacked Moorish territory,
seizing their lands and properties. The Christian crusaders
named this process La Reconquista, the reconquest. This
military/religious project created the institutions and practices
later established in Spanish America, especially the
encomienda (conquered land granted to the conquistador
along with the people on it, with the conquistador earning the
noble title of hidaigo),

The Reconquest meant the slow, and systematic
extension of Christian power over all those lands
that had been Muslim since the eighth century,
and so involved the clash of Christian and
Muslim armies and societies. What the
Reconquest destroyed, however, was the racial
and religious coexistence, which despite
incessant armed conflict had distinguished the

http://www.monthlyreview.org/0703dunbarortiz.htm 12/6/2004
>» The New Crusade:
America’s War on
Terrerism

by Rahul Mahajan

» Fools’ Crusade:
Yugoslavia, NATO,

by Diana Johnstone

RECENT ESSAYS ON:
»> Africa
»> asia

» Europe

>» Globalization

» Iraq, U.S. Imperialism
and War

» Labor and
Working-Class Issues
» Media
Communications

» 9/11-War on
Terrorism

>» Social/Political
Theory

» ULS, Politics/
Economics

http://www.monthlyreview.org/0703dunbarortiz.htm

: Moothdy Riediaw Judy aAngzust 2003 Roxmeret Dinbdr-Gitzd 07/01/05 Page 4 of 12 PagPaBet 6812

society of mediaeval Spain. It was claimed by a
contemporary that when the Chiristians went to
war against the Moors, it was ‘neither because of
the law (of Mahommed) nor because of the sect
that they hold to’, but because of the lands they

occupied and for this reason alone.‘

Before Christian aggression and eventual expulsion of the
Moors from the Iberian Peninsula, Christians, Jews, and
Muslims had enjoyed a mutual tolerance so the question of
racial or religious conflict had not existed,

The Vatican created the original institution of the Inquisition
in 1179 for routing out Christian heretics, the original
mandate being free of racialization. However, the 1400s in
Spain saw increasing Inquisition investigations of conversos,
that is, Christian converted Jews, and of moriscos, Christian
converted Muslims. Jews and Muslims who refused to
convert were finally deported en masse from the Iberian
Peninsula at the end of the fifteenth céntury. (It is said that
Columbus watched the people being loaded on to ships for
deportation as he set sail in 1492),

Before this time the concept of biological race based on
“blood” is not known to have existed as law or taboo in

Christian Europe or anywhere else in the world.’ As
scapegoating and suspicion of conversos and moriscos
intensified in Christian Spain, the doctrine of limpieza de
sangre, “purity of blood,” was populatized and had the effect
of granting psychological, and increasingly legal, privileges
to “Old Christians” thereby obscuring’the class differences
between the poor and the rich, i.e. between the landed
aristocracy and the land-poor peasants and shepherds. In
Cervantes’ Don Quixote the impoverished Sancho Panza
says, “I am an Old Christian, and to become an earl that is
sufficient,” to which Don Quixote replies, “And more than
sufficient.” And Cervantes’ contemporary, Lope de Vega,
wrote in his PeribE1F lez. “soy un hombre, /aunque de
villana casta, /impio de sangre y jam Vde hebrea o mora
manchada” (I am a man, although of lowly status, yet clean
of blood and with no mixture of Jewish or Moorish blood.)

What we witness in late fifteenth and early sixteenth century
Spain is the first instance of class leveling based on imagined
biological racial differences, indeed the origin of white
supremacy, the necessary ideology of ¢olonial projects in
America and Africa. We see here the heginnings of the
“thousand year Reich” of settler capitalism/colonialism, and

12/6/2004
- MofthbeRediaw Ota gaist 2003 Raxareret Bithbér-Ortiad 07/01/05 Page 5 of 12 PagPdBe!S GBR

its characteristic tug of war over the hearts and minds of the
majority of the settlers—the yeomanry, and later the “white”
working classes. Historian David Starinard, in his American
Holocaust, (New York: Oxford University Press, 1992) adds
to Elie Wiesel’s famous observation, that the road to
Auschwitz was paved in the earliest days of Christendom, the
caveat that on the way to Auschwitz the road led straight
through the heart of America. The ideplogy of white
supremacy was paramount in neutralizing the class
antagonisms of the landless against the landed, and in the
distribution of the confiscated lands and properties of Moors,
Jews, and of Irish, Native Americans and Africans. Kamen
describes the process in fifteenth and sixteenth century Spain:

a situation in which the highest and lowest
classes could maintain social mobility without
great fear of social distinction...as with the
genuine aristocracy, the concepts of honour,
pride and hidalguEDa become the very
foundations of action...In so farias this concept of
honour was identified with the virtues of the Old
Christian nobility, deference to honour became
deference to the nobility...the Castilian nobility
continued to regard their functions as essentially
the same that they had always been. Their task
was to fight and not to labour. HidalguEDa
would not permit a nobleman, even the lowest

rank of nobleman, to labour or tp trade...6

The “Old Christian” Spanish, whatever their economic
situation, were allowed to identify with the worldview of the
nobility. As one Spanish historian puts it, “the common
people looked upwards, wishing and hoping to climb, and let
themselves be seduced by chivalric id¢als: honour, dignity,

glory, and the noble life.””

We can also locate the origin of genocide and its linkage to
colonialism in the late 1400s in Spain.; Two punishments
were devised to root out uncertain Christians deemed to have
unclean blood: the extermination of many burned at the stake
and the social isolation and persecution of the rest.

Ireland and the English Inquisition |

During the early 1600s the English conquered Northern
Ireland, and declared a half-million acres of land open to
settlement; the settlers who contracted |with the devil of early
colonialism came mostly from western Scotland. England had

http://www.monthlyreview.org/0703dunbarortiz.htm 12/6/2004
. Mofithiy Riedie idl 1Ahdpbdt2.003 Rusa Biinbdr-Citixd 07/01/05 | Page 6 of 12 Pagpage’s 6822

previously conquered Wales and southern and eastern
Ireland, but had never previously attempted on such a scale to
remove the indigenous population and “plant” settlers. The
English policy of exterminating Indiahs in North America
was foreshadowed by this English colonization of Northern
Ireland. The ancient Irish social system was systematically
attacked, traditional songs and music forbidden, whole clans
exterminated and the remainder brutalized. A “wild Irish”
reservation was even attempted.8 The planted settlers were
Calvinist Protestants, assured by their divines that they had
been chosen by God for salvation (and title to the lands of
Ulster). The native (and Papist) Irish were definitely not
destined for salvation, but rather the rpverse, both in the
present and hereafter.

The “plantation” of Ulster followed centuries of intermittent
warfare in Ireland, and was as much the culmination of a
process as a departure. In the sixteenth century, the official in
charge of the Irish province of Munster, Sir Humphrey
Gilbert, ordered that:

The heddes of all those (of what sort soever thei
were) which were killed in the daie, should be
cutte off from their bodies and brought to the
place where he incamped at night, and should
there bee laied on the ground by eche side of the
waie ledying into his owne tenté so that none
could come into his tente for any cause but
commonly he muste passe through a lane of
heddes which he used ad terrorem...[It brought]
greate terrour to the people when thei sawe the
heddes of their dedde fathers, bothers, children,

kindsfolke, and freinds...°

Bounties were paid for the Irish heads: brought in and later
only the scalp or ears were required. A century later, in North
America, Indian heads and scalps were brought in for bounty
in the same manner. Native Americans picked up the practice
from the colonizers. The first English colonial settlement in
North America had been planted in Néwfoundland in the
summer of 1583, by Sir Humphrey Gilbert.

During the mid-nineteenth century, influenced by Social
Darwinism, some English scientists péddled the theory that
the Irish (and of course all people of color) had descended
from apes, while the English were des¢endants of man who
had been created by God in His image, Thus the English were
“angels” and the Irish (and other colortized peoples) were a

http://www.monthlyreview.org/0703dunbarortiz.htm / 12/6/2004
* Mofithty RieOinwills-1Ahigigt2003 Roxamied Biinbér-@itad 07/01/05 Page 7 of 12 PagPige? 6812

lower species, what today U.S. white supremacists call “mud

people,” products of the process of evolution.’? It is the
seventeenth century Ulster Calvinist ideology in late
nineteenth century modern guise.

White Supremacy, the U.S. Origin Myth, and U.S.
Imperialism

Two paragraphs, rarely cited, from the Declaration of
independence raise thorny questions about Anglo-American
imperialist roots in forming the breakaway United States of
America. This was not simply the founding of a republic for
propertied, mostly slave-owning, white males, but more
importantly a settler-colonialist and imperialist-aggressor
state,

He [King George] has endeavojed to prevent the
population of these States; for that purpose,
obstructing the laws for naturalization of
foreigners, refusing to pass others to encourage
their migration hither, and raising the conditions
of new appropriations of lands. [The treaty
ending the French and Indian War made British
settlement over the Allegheny/Appalachian line
into Indian country illegal and ordered the return
of those tens of thousand settlers who had
already squatted there, demanding land rights. ]

He [King George] has excited domestic
insurrections amongst us and has endeavored to
bring on the inhabitants of our frontiers, the
merciless Indian savages, whos¢ known rule of
wartare is an undistinguished d¢struction of all
ages, sexes, and conditions.

Not only did founding father Thomas Jefferson pen those
words, he was also the real architect of the genocide and
confiscation of the land of settled indigenous peoples later
termed the Jacksonian policy of Indian removal.

Reconciling empire and liberty was a historic obsession of
U.S. political thinkers and historians, in the twenty-first
century openly being debated once again. Thomas Jefferson
had hailed the United States as an “empire for liberty,”
Andrew Jackson coined the phrase, “extending the area of
freedom” to describe the process in which slavery had been
introduced into Texas in violation of governing Mexican
laws, to be quickly followed by a slaveholder’s rebellion and

http://www.monthlyreview.org/0703dunbarortiz.htm 12/6/2004
: Mothiy Rleoibw ills 4Anigiét 2003 Roxaerd Diinbdr-Giitixd 07/01/05 Page 8 of 12 PagPige'® 6682

U.S. annexation. The term “freedom”| became a euphemism
for the continental and worldwide expansion of the world’s
leading slave power. The contradictions, particularly since the

initial rationalization for U.S. indeperidence was anti-empire,
are multiple.

It is easy to date U.S. imperialism to Andrew Jackson, but he
only carried out the original plan, initially as an army general
who led three genocidal wars against the Muskogee in
Georgia/Florida, then as the most popular president ever, and
the organizer of the expulsion of all native peoples east of the
Mississippi to the Oklahoma Territory.

Although white supremacy was the working rationalization
and ideology of English theft of Native American lands, and
especially the justification for African slavery, the
independence bid by what became the United States of
America is more problematic, in that democracy/equality and
supremacy/dominance/empire do not make an easy fit. It was
during the 1820s, the era of Jacksonian Democracy, that the
unique U.S. origin myth was created, James Fenimore Cooper
the initial scribe. James Fenimore Codper’s re-invention of
America in The Last of the Mohicans has become the official
U.S. origin story. Herman Melville called Cooper “our
national novelist,” and, of course, he was the great hero of
Walt Whitman who sang the song of manhood and the
American super-race through empire. As an enthusiastic
supporter of the U.S. war against Mexico, 1846-1848,
Whitman proposed the stationing of sixty thousand U.S.
troops in Mexico in order to establish a regime change there,
stating, “whose efficiency and permanency shall be
guaranteed by the United States. This will bring out
enterprise, open the way for manufacturers and commerce,
into which the immense dead capital of the country will find

its way."

Whitman’s sentiment (and he was the most beloved writer of
his time, and still beloved by contemporary U.S. poets,
particularly the Beats) followed the already established U.S.
origin myth that had the frontier settlets replacing the native
peoples, similar to the parallel Afrikaner origin myth in South
Africa. .

To the extent that African Americans, Native Americans,
Chicanos, Puerto Ricans, and non-European immigrants are
allowed (and are willing) to embrace aind embody U.S.
patriotism, they may be accepted as comversos, as the Spanish
Inquisition termed those who professed Christianity despite

http://www .monthlyreview.org/0703dunbarortiz.htm 12/6/2004
' Mofithie Re Gitw Vuly-Migeast 2008 Ruxmaiel Biinbdr-Grtizd 07/01/05 Page 9 of 12 PagPape GBR

their “unclean” blood. Yet in the end, only the Old Settlers
are true Americans.

This white supremacist ideology formed the core of U.S.
foreign policy as well, from its origins to the present. As
Samir Amin pointed out: “During this entire phase [the Cold
War] the East-West conflict was presented as a struggle
between socialism and capitalism, although it was never
anything other than the conflict between the periphery and the
center, manifested in its most radical form. 12

Why Do We Date U.S. Imperialism Only to 1898, and as
an Aberration?

“American” supremacy and populist imperialism are
inseparable from the content of the U.S. origin story and the
definition of patriotism in the United States today. And it
began at the beginning, even before the founding of the
United States, not as an accident or aberration in the
progression of democracy. The founding of the United States
marked a split in the British Empire, n not an anticolonial
liberation movement.

The very term, “frontier,” used to define the border between
independent Native American nations.and the United States,
implies a foreign country on the other'side of a demarcation
line—a country to be invaded, its inhabitants controlled and
then expelled, while settlers move in protected by the army.
Everything accounted for in the first hundred years plus as

“movement of the frontier” was plain and simple imperialism,
fitting all the definitions thereof.

During this new phase of U.S. imperialism following 9/11,
accelerating with the invasion, occupation, and administration
of Iraq, commentators and historians—left and right—but
mostly liberal Democrats, observe that the United States is
not very good at imperialism, with vague references to the
Spanish-American War. Actually, the United States has not
become the most powerful military machine and dominant
power on earth and in history by accident or by staying home
and minding the cows and banks like the Swiss, who are
capitalist and rich, but not imperialists,

“Well, so what?” many of my antiwar jand social-justice
friends ask me, asserting that the truth'would alienate
“ordinary people,” whoever they are. Who would know since
it has never been tried? Besides, I havé my doubts that most
of my leftist friends are themselves prépared to accept that

http://www. monthlyreview.org/0703dunbarortiz.htm 12/6/2004
' Ménthky RGSeowIOHLAagusP200DRoKaane Diribar-Grtig 07/01/05 Page 10 of 12 Paagb1g:0f82

the very origin of the United States is!fundamentally
imperialist, rather than imperialism being a divergence from a
well-intentioned path. The public acceptance of media
propaganda justifying U.S. government aggression falls into
the pattern of a belief system based on the origin story that is
uninterrupted and uninterrogated by us, the left.

Of course, there are many leftist and social democratic
thinkers and scholars who challenge the 1898 age of
imperialism myth. Most notably, Monthly Review has never
strayed from understanding the long history of U.S.
imperialism, particularly in Latin America. Also, William
Appleman Williams and a whole generation of radical U.S.
historians acknowledge “empire as a way of life” the title of
Williams’ 1980 book of essays (New York: Oxford
University Press) that includes an exhaustive list of overseas
interventions dating back to day one, giving substance to the
U.S. Marine theme, “the shores of Tripoli.” And with the Iraq
intervention, many antiwar critics have compiled such lists.

The expansion of the United States from sea to shining sea is
coming under reexamination, even frdm bourgeois historians,
with the sudden unabashed assertion df U.S. imperialism.
Warren Zimmermann, in his recent baok on the frankly
imperial aims of the Teddy Rooseveltjadministration, First
Great Triumph (New York: Farrar Straus and Geroux, 2002),
introduces his material with words rarely found in
mainstream literature:

Americans like to pretend that they have no
imperial past. Yet they have shdwn expansionist
tendencies since colonial days..|Overland
expansion, often at the expense of Mexicans and
Indians, was a marked feature of American
history right through the period lof the Civil War,
by which time the United States had reached its
continental proportions.

The War for American Independence, which
created most of the founding myths of the
Republic, was itself a war for |

expansion... Thomas Jefferson nursed even

prander plans for empire.”

Warren Zimmermann himself knows something of the
practical side of imperialism. He was the last U.S.
ambassador to pre-civil war Yugoslavia. Surely it is past time
for leftists to abandon the Whitmanesque celebratory myths

http://www.monthlyreview.org/0703dunbarortiz. htm 2 12/6/2004
' Monthly ReSiew-DAs4Subhs? 2006 RomamicDubbarkais 07/01/05 Page 11 of 12 Papape Ht 6BR2

of a democratic American manifest destiny.
Conclusion

As a graduate student in Latin American History at UCLA in
the mid-1960s, I first learned about imperialism, and it was
my good fortune to have access to Marxist analysis.
However, it was not until the early 1970s when I became
involved as an expert witness in Native American court cases
regarding U.S.-Indian treaties, that I came to grasp the true
nature and development of U.S. imperialism. At that same
time, a now deceased mentor, Canadian Native leader and
Marxist historian, Howard Adams, gave me a book that had a

great influence on me.'* That book was Pierre JalE9e’s
Imperialism in the Seventies (New York: The Third Press,
1973) which contained a brilliant introduction by Harry
Magdoff. Harry’s cautionary words three decades ago
resonate even more loudly today:

The major obstacle to such enlightenment is the
pervasiveness of the ideological rationalization
for imperialism. The extent of this pervasiveness
is not easy to perceive becauseisuch
rationalization is deep-seated. Its roots are
intertwined with the accepted, ¢onventional
modes of thought and the cons¢iousness of a
people. Thus, they are located in the false
patriotism and racism that sink|deeply and
imperceptibly into the individual’s sub-
conscious; in the traditions, values, and even
aesthetics of the cultural enviranment—an
environment evolved over centuries during
which self-designated “superiot” cultures
assumed the right to penetrate and dominate
“inferior” cultures. These roots:are also buried in
the sophisticated theorems of both liberal and
conservative economics, sociolbgy, political
science, anthropology, and history. For these
reasons, citizens of an imperialist country who
wish to understand imperialism’ must first
emancipate themselves from the seemingly
endless web of threads that bind them
emotionally and intellectually to the imperialist

condition,

This, I believe, is the most important task for the antiwar and
social justice movements in the United States today—to
assume the responsibility of being citizens of an empire that

http:/Avww.monthlyreview.org/0703dunbarortiz.htm 12/6/2004
( Montity Review Duly Gubhst 2006 Reem DubbarkOAiz07/01/05 Page 12 of 12 Papepe f2 662

must be dismantled.

Notes

1.

Peter Baker, “Wrong Turn in Nasryah Led to
Soldiers’ Capture Maintenance Company Drove Into
Waiting Ambush,” Washington Post, April 13, 2003.
Edward Said, “Give Us Back Gu Democracy:
Americans Have Been Cheated and Lied To,” (www.
CounterPunch.org, 4/21/03). |

Perry Miller, Errand in the Wilderness (Cambridge:
Harvard University Press, 1956), 114.

Henry Kamen, The Spanish Inquisition (New York:
New American Library, 1965); 2.

Norman Roth, Conversos, Inquisition, and the
Expulsion of the Jews from Spain (Madison: University
of Wisconsin Press, 1995), 229.

Kamen, Jnquisition, 117-118. -

Claudio Sanchez Albornoz, Espafia, un enimgma
historico (2 vols.)(Buenos Airés, 1962), I, 677.
Richard Slotkin, Regeneration'through Violence
(Middletown, Connecticut: Wesleyan University Press,
1973), 42.

Francis Jennings, The Invasion of America (New York:
W. W. Norton, 1975), 168.

L. Perry Curtis, Jr., ed., Apes and Angels (Washington
D.C.: Smithsonian Institution, 1971).

. Walter A. McDougall, Promised Land, Crusader State

(New York: Houghton Mifflin ‘Co, 1997), 95.
Samir Amin, Empire of Chaos (New York: Monthly
Review Press, 1992), 9,

. Zimmermann, First Great Triumph (New York: Farrar

Straus and Giroux, 2002), 17. |

. Howard Adams, Prison of Grass (Toronto: Free Press,

1974),

. Pierre Jalée, imperialism in thé Seventies (New York:

Third Press, 1973), xvii-xviii.

| Top | Subscribe } Order Single Issue [| Back Issues | MR Index | MR Press |

All material © copyright 2003 Monthly Review

http://www.monthlyreview.org/0703dunbarortiz.htm 12/6/2004
